
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-02-383-CV



ALABANZA, INC. AND ALABANZA	APPELLANTS

CORPORATION





V.





THE ISPARK GROUP, INC. &nbsp;&nbsp;	APPELLEE



----------

FROM THE 352
ND
 DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

On February 14, 2003, we notified appellants that their brief had not been filed as required by T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellants or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received a response.

Because appellants' brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellants shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D:	GARDNER, J.; CAYCE, C.J.; and WALKER, J.



DELIVERED: March 27, 2003

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




